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                               FOR THE F OURTH C IRCUIT


                                            No. 22-4601


                              U NITED S TATES OF A MERICA ,
                                             Appellee,
                                                  v.

                              A SHLEY N ICHOLE K OLHOFF ,
                                             Appellant.


                           Appeal from the United States District Court
                               for the Eastern District of Virginia
                                          at Alexandria
                        The Honorable Leonie M. Brinkema, District Judge


                                B RIEF   OF THE   U NITED S TATES


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                                            Introduction

               In September 2020, defendant Ashley Nichole Kolhoff was

                           . Defendant created an account at “Rapey.su,” a website

        dedicated to the sexual exploitation of children, including the production and

        dissemination of child pornography. Adopting the moniker “                 ” on the

        Rapey website, the defendant produced sexually explicit images of

                  , including close-up photographs of              ’s genitals and anus, and

        distributed them to numerous other Rapey users.

              The defendant was arrested and ultimately charged with one count of

        production and one count of distribution of child pornography. The matter

        proceeded to a bench trial, at the conclusion of which the district court returned a

        verdict of guilty on both counts. The court later sentenced the defendant to the

        mandatory-minimum term of fifteen years’ imprisonment.

              On appeal, the defendant argues only that the photographs that the defendant

        took of                     ’s genitals and anus did not contain “lascivious

        exhibition[s]” of those regions within the meaning of 18 U.S.C. § 2256(2)(A)(v).

        Because this claim lacks merit, the Court should affirm the defendant’s convictions

        and sentence.




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        anyone want me and                              ?” JA54, JA419. Numerous Rapey

        users responded expressing interest. JA419-431. On the same day, the defendant

        posted a separate message in another Rapey forum (“Femoid discussion”) titled

        “           is beautiful” and asking, in the body of the message, “Anyone want

        pics?” JA55, JA432. Again, various Rapey users (including user “NotJ”)

        responded by answering affirmatively or seeking to engage in direct message

        exchanges with the defendant. JA432-456.

              Thereafter, in separate message exchanges occurring over the Rapey website

        with “NotJ” and other Rapey users between September 11, 2020 and September

        13, 2020, the defendant sent photographs she had taken of                        .

        These photographs included close-up photographs of                   ’s genitals and

        anus, in which the defendant used her hand to spread apart                ’s labia or

        to expose              ’s anus to the camera as much as possible. JA67, JA69,

        JA70, JA72, JA74, JA76, JA77; see also SA38-39, SA50, SA56, SA62, SA67,

        SA70, SA77, SA80, SA84.

              B.      The defendant is charged and arrested, proceeds to a
                      bench trial, and is convicted.

              The defendant was arrested by agents of Homeland Security Investigations

        at her home in Port Clinton on June 9, 2021. JA107. The arresting agent noted

        that freckles or moles visible on the adult fingers in the images depicting



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                              ’s labia and anus were consistent with blemishes on the

        defendant’s fingers. JA99.

              The defendant was initially charged by criminal complaint with one count of

        production of child pornography, in violation of 18 U.S.C. § 2251(a). JA382.

        Subsequently, a federal grand jury returned an indictment charging the defendant

        with one count of production of child pornography and one count of distribution of

        child pornography, in violation of 18 U.S.C. § 2252(a)(2). JA17. The defendant

        later waived her right to a jury trial, and the matter proceeded to a bench trial

        beginning on March 2, 2022. JA8, JA20.

              At trial, the defendant focused primarily on her contention that she could not

        have formed the mens rea necessary to have committed the charged offenses. In

        particular, the defendant presented the testimony of a clinical psychologist who

        testified that the defendant’s activity on Rapey likely occurred while the defendant

        was “dissociating,” JA 144, and further that her activity was likely the result of the

        defendant going “down the rabbit hole” in a misguided attempt to fight child

        exploitation, JA125, JA145-46, JA163, JA174. The government presented

        evidence that the defendant was of entirely sound mind during the period of her

        activity on Rapey, including the testimony of the government’s own psychologist,

        who examined the defendant and concluded that the defendant had significantly




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        malingered symptoms in her interactions with the defense psychologist. JA232–

        233.

               At the conclusion of the evidence, the district court directed the parties to

        submit briefing addressing the factual disputes highlighted at trial. JA293. After

        the parties submitted the required briefing, the district court held a hearing on April

        12, 2022, at which the court announced its verdict finding the defendant guilty as

        to both counts in the indictment. JA334. The defendant was subsequently

        sentenced to the mandatory-minimum term of fifteen years’ imprisonment. JA361.

               This appeal followed.

                                       Summary of Argument

               The defendant argues that the images she produced and distributed are not

        “lascivious exhibition[s]” as defined by 18 U.S.C. § 2256(2)(A)(v), relying

        primarily on the recent divided decision in United States v. Hillie, 39 F.4th 674

        (D.C. Cir. 2022). However, the close-up photographs of                          ’s

        genitals and anus being spread apart by the defendant’s fingers to achieve the

        greatest possible exposure to the camera are plainly “lascivious” under this Court’s

        precedent in United States v. Courtade, 929 F.3d 186 (4th Cir. 2019).

               Moreover, Hillie is neither binding nor persuasive, and the Court should

        reject the defendant’s invitation to adopt the majority opinion’s flawed standard.

        Hillie misapplies relevant Supreme Court precedents and legislative history, adopts


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              The images supporting defendant’s convictions are plainly “lascivious
              exhibitions.”

              The district court convicted the defendant at trial of sexual exploitation of

        children (alternatively described as production of child pornography), in violation

        of 18 U.S.C. § 2251(a) and (e), and the distribution of child pornography, in

        violation of 18 U.S.C. § 2252(a)(2) and (b)(1). JA 336, JA371. To prove the

        former offense, the government was required to prove beyond a reasonable doubt

        that the defendant employed, used, or coerced a minor to engage in “sexually

        explicit conduct” for the purpose of producing a visual depiction of such conduct.

        See 18 U.S.C. § 2251(a); JA17 (indictment). To prove the latter offense, the

        government was required similarly to prove that the defendant distributed at least

        one visual depiction of a minor engaged in “sexually explicit conduct.” See 18

        U.S.C. § 2252(a)(2); JA18. “Sexually explicit conduct,” as used in both §§ 2251

        and 2252, is further defined by statute to include “the lascivious exhibition of the

        anus, genitals or pubic area of any person.” 18 U.S.C. § 2256(2)(A)(v).

              Whether a particular visual depiction includes a “lascivious exhibition” of

        the anus, genitals or public area is a question of fact. See, e.g., United States v.

        Petroske, 928 F.3d 767, 773 (8th Cir. 2019); United States v. Schuster, 706 F.3d

        800, 806 (7th Cir. 2013) (describing the issue as “an intensely fact-bound

        question”); United States v. Frabizio, 459 F.3d 80, 85 (1st Cir. 2006); United

        States v. Arvin, 900 F.2d 1385, 1390 (9th Cir. 1990); cf. United States v. Courtade,
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        929 F.3d 186, 191 (4th Cir. 2019) (analyzing whether a given visual depiction was

        “lascivious” as part of an inquiry into “factual innocence”). As with any challenge

        to the sufficiency of the evidence, this Court must view the evidence presented at

        trial in the light most favorable to the government, and determine whether any

        rational trier of fact could have found the essential elements of the crime beyond a

        reasonable doubt. United States v. Devine, 40 F.4th 139, 146 (4th Cir. 2022)

        (citing United States v. Lowe, 65 F.3d 1137, 1142 (4th Cir. 1995)). Thus, the

        Court here must uphold the defendant’s convictions if any rational trier of fact

        could find the images at issue to be “lascivious.”

                In articulating standards intended to guide a determination whether a

        particular exhibition in a visual depiction is “lascivious,” many courts have

        considered the six factors first enumerated in United States v. Dost, 636 F. Supp.

        828 (S.D. Cal. 1986). The Dost factors are: (1) whether the depiction’s focal point

        is the minor’s genitalia or pubic area;2 (2) whether the depiction’s setting appears

        to be sexually inviting or suggestive, i.e., in a place or pose generally associated


            2
              Initially, Congress defined “sexually explicit conduct,” as relevant here, to
        include the “lewd exhibition of the genitals or pubic area of any person.”
        Protection of Children Against Sexual Exploitation Act of 1977, Pub. L. No.
        95-225, § 2(a), 92 Stat. 7, 8 (1978). Well after the decision in Dost, Congress
        expanded the statutory definition of “sexually explicit conduct” in 2018 to include
        the lascivious exhibition of a minor’s anus. Amy, Vicky, and Andy Child
        Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299, § 7(c), 132 Stat.
        4383, 4389 (2018).

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        with sexual activity; (3) whether the minor is depicted in an unnatural pose, or

        inappropriate attire, considering the age of the child; (4) whether the minor is fully

        or partially clothed or nude; (5) whether the visual depiction suggests sexual

        coyness or an apparent willingness to engage in sexual activity; and (6) whether

        the depiction appears to have been intended or designed to elicit a sexual response

        in the viewer. Dost, 636 F. Supp. at 832.

              Seven courts of appeals have followed the Dost factors in determining

        whether an exhibition is “lascivious.” See United States v. Rivera, 546 F.3d 245,

        252–53 (2d Cir. 2008); United States v. Villard, 885 F.2d 117, 122 (3d Cir. 1989);

        United States v. Steen, 634 F.3d 822, 827–28 (5th Cir. 2011); United States v.

        Brown, 579 F.3d 672, 680 (6th Cir. 2009); Petroske, 928 F.3d at 774 (8th Cir.

        2019); United States v. Perkins, 850 F.3d 1109, 1121 (9th Cir. 2017); United States

        v. Isabella, 918 F.3d 816, 831 (10th Cir. 2019). Two other courts of appeals have

        upheld consideration of the Dost factors depending on the facts of a particular case.

        See United States v. Price, 775 F.3d 828, 839–40 (7th Cir. 2014); United States v.

        Amirault, 173 F.3d 28, 31–32 (1st Cir. 1999). This Court, while recognizing the

        use of the Dost factors by many other courts, has neither expressly adopted nor

        rejected Dost’s interpretation of the term “lascivious exhibition.” See Courtade,

        929 F.3d at 192. The D.C. Circuit stands alone among the courts of appeals in

        having rejected the Dost factors and holding that the “lascivious exhibition of the


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        anus, genitals, or pubic area of any person” means that “the minor displayed his or

        her anus, genitalia, or pubic area in a manner connoting that the minor, or any

        person or thing appearing with the minor in the image, exhibits sexual desire or an

        inclination to engage in any type of sexual activity.” 39 F.4th at 685.3 The images

        at issue in this case are clearly “lascivious exhibitions.”

                A.    Courtade controls this case and confirms that the images
                      at issue are “lascivious exhibitions.”

                The Court can resolve this case simply by applying its recent precedent in

        Courtade. In that case, the defendant moved under 28 U.S.C § 2255 to vacate his

        conviction for possession of child pornography, in violation of 18 U.S.C.

        § 2252(a)(4)(B). Courtade, 929 F.3d at 189. He claimed that he was actually

        innocent of the offense because the video at issue did not “show a minor engaging

        in ‘sexually explicit conduct’ as defined in 18 U.S.C. § 2256(2)(A).” Id. This

        Court specifically considered whether the video depicted a “lascivious exhibition

        of the anus, genitals, or pubic area” under § 2256(2)(A). Id. at 191.




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             Contrary to the defendant’s characterization, Hillie did not hold that
        § 2256(2)(A)(v) requires that “the ‘exhibition of the anus, genitals, or pubic area’
        must be performed in a manner that connotes the commission of some sexual act,
        either actual or simulated.” Def. Br. 21. The defendant’s formulation would
        impermissibly circumscribe the definition of “lascivious exhibition” beyond the
        holding in Hillie.

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              The visual depiction at issue was a 24-minute video of a minor child in the

        shower. Id. at 188. During the video, the minor undresses and enters the shower,

        closing the shower curtain behind her. Id. The defendant then hands the camera to

        the showering minor and instructs her to put it on the shower floor, under the ruse

        that this was necessary “to see if the camera was waterproof.” Id. The minor

        complies and then hands the camera back to the defendant, who places the camera

        on the bathroom counter. Id. The camera then captures the minor exiting the

        shower, seeing the camera on the countertop, and finally crawling out of view of

        the camera below the countertop. Id. The resulting video displayed the minor’s

        breasts and genitals “at various points.” Id.

              This Court readily determined that the video constituted a “lascivious

        exhibition.” Id. at 192–94. The Court explained that “[t]he plain meaning of

        ‘lascivious exhibition’ require[d] that [it] ask whether the video depict[ed the

        minor’s] genitals or pubic area ‘in order to excite lustfulness or sexual stimulation

        in the viewer.’” Id. at 192 (quoting United States v. Knox, 32 F.3d 733, 745 (3d

        Cir. 1994)). The Court acknowledged that “[m]any courts” have considered the

        Dost factors in “applying the term ‘lascivious exhibition,’” but determined that it

        “need not venture into the thicket surrounding the Dost factors” because it could

        “dispose of this case based on the objective characteristics of the video alone.” Id.




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              The Court observed that, “[f]ar from depicting merely a girl showering,

        drying off, and getting dressed, the video contain[ed] extensive nudity—including

        shots of her breasts and genitals—that [was] entirely the product of an adult man’s

        deceit, manipulation, and direction as captured in the video.” Id. The Court

        further noted that the camera had been angled “in such a way as to capture even

        more footage of [the minor victim’s] breasts and genitals.” Id. at 193. The Court

        concluded that the video “objectively depict[ed] a ‘lascivious exhibition’ because

        the images and audio—revealing deceit, manipulation, and the careful directing

        and filming of a young girl resulting in footage of her breasts and genitals—ma[d]e

        clear that the video’s purpose was to excite lust or arouse sexual desire in the

        viewer.” Id. at 193.

              Thus, Courtade held that a “lascivious” exhibition is one that “depicts [a

        minor’s] genitals or pubic area in order to excite lustfulness or sexual stimulation

        in the viewer.” 929 F.3d at 192 (internal quotation omitted). This decision is

        consistent with every other circuit that had addressed the meaning of lascivious

        exhibition previously. See Steen, 634 F.3d at 828; see also United States v. Al-

        Awadi, 873 F.3d 592, 600 (7th Cir. 2017) (“[A] lascivious exhibition ‘is one that

        calls attention to the genitals or pubic area for the purpose of eliciting a sexual

        response in the viewer.’”) (citation omitted); United States v. Wiegand, 812 F.2d

        1239, 1244 (9th Cir. 1987) (“The picture of a child ‘engaged in sexually explicit


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        F.3d at 193 (concluding that the video “depict[ed] a ‘lascivious exhibition’ because

        the images and audio—revealing deceit, manipulation, and the careful directing

        and filming of a young girl resulting in footage of her breasts and genitals—make

        clear that the video’s purpose was to excite lust or arouse sexual desire in the

        viewer”).

                     2.     The defendant’s arguments to the contrary lack merit.

              The defendant’s attempts to evade the binding effect of Courtade are

        unconvincing. First, the defendant argues that Courtade is not binding because the

        question of statutory construction was presented there in the context of an appeal

        from the denial of a motion to vacate conviction pursuant to 28 U.S.C. § 2255,

        rather than on a direct appeal from a conviction. Def. Br. 23 (attempting to

        distinguish between “factual innocence” and “legal insufficiency”). But this

        distinction is meaningless. Courtade reasoned that a claim of “actual innocence”

        may properly “turn[] on issues of statutory construction.” 929 F.3d at 190 (citing

        United States v. Fugit, 703 F.3d 248, 253-54 (4th Cir. 2012) and United States v.

        Burleson, 815 F.3d 170, 176 (4th Cir. 2016)). This Court made perfectly clear that

        “Courtade’s actual innocence claim turns ultimately on our interpretation of 18

        U.S.C. § 2252(a)(4)(B), the statute of conviction,” and ultimately that “[t]he

        question in this case is whether the video of Jane Doe depicts a ‘lascivious

        exhibition of the anus, genitals or pubic area’ under the statute.” 929 F.3d at 191.


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        There is no difference between the statutory construction of 18 U.S.C.

        § 2256(2)(A)(v) conducted in Courtade and the statutory construction required on

        direct appeal.

              Second, the defendant faults this Court’s interpretive methods, focusing on

        brief references in Courtade to dictionary definitions of relevant statutory terms

        and suggesting it would be inappropriate for this Court to apply Courtade to this

        case in light of those references. Def. Br. 23. However, the defendant’s

        disapproval of a standard method of statutory construction does nothing, of course,

        to diminish the binding effect of this Court’s prior published decisions. See United

        States v. Collins, 415 F.3d 304, 311 (4th Cir. 2005) (“A decision of a panel of this

        court becomes the law of the circuit and is binding on other panels unless it is

        overruled by a subsequent en banc opinion of this court or a superseding contrary

        decision of the Supreme Court.”) (internal quotation omitted).

              Third, the defendant argues that Courtade “seemed to recognize that courts

        should only look to the four corners of the image or video, rather than to the

        subjective intent of the creator, when deciding whether the image is ‘lascivious.’”

        Def. Br. 24. But this is plainly incorrect. Instead, Courtade recognized that the

        defendant had argued “that his subjective intent or motive in creating the video is

        irrelevant to our analysis, and that considering his intent would be at odds with the

        statutory language and would raise concerns under the Due Process Clause and the


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        First Amendment,” but concluded ultimately that “we need not venture into the

        thicket surrounding the Dost factors or define the parameters of any subjective-

        intent inquiry, because we can dispose of this case based on the objective

        characteristics of the video alone.” 929 F.3d at 192. Thus, this Court simply found

        it unnecessary to consider whether any subjective intent or other factors external to

        the image itself had any role in determining whether a visual depiction was

        “lascivious,” precisely because the video at issue in Courtade was clearly

        “lascivious” without consideration of any external factors. Moreover, in this case,

        the images are plainly lascivious even if the Court were to consider only the four

        corners of the images since they clearly depict an adult spreading apart            ’s

        labia and anus in order to better display, and enhance the focus on, the victim’s

        genitals.

              B.     The Court should not apply Hillie, but even under its
                     outlier standard, the images in this case are lascivious
                     exhibitions.

              Defendant maintains that, under the standard set forth in Hillie, the images

        supporting the defendant’s convictions are not lascivious exhibitions within the

        meaning of § 2256(2)(A)(v). Def. Br. 21–22. The Court should decline to apply

        Hillie because it misconstrues Supreme Court precedent, relies on a defective

        rejection of Dost, and is inconsistent with this Court’s precedent. In any event,

        even under Hillie, the photographs of                           constitute

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        lascivious exhibitions sufficient to support her convictions.

                     1.     Hillie misconstrues Supreme Court precedent and relies on
                            a defective rejection of Dost.

              First, Hillie is not correct. At the outset, Hillie misinterpreted references in

        relevant Supreme Court opinions to the “hard core” of child pornography. For

        example, in New York v. Ferber, 458 U.S. 747 (1982), the Supreme Court upheld a

        New York statute that defined certain crimes related to visual representations of

        minors engaged in “sexual conduct.” The New York statute defined “sexual

        conduct” similarly to 18 U.S.C. § 2256(2)(A)’s definition of “sexually explicit

        conduct” (including the “lewd exhibition of the genitals”). In concluding that the

        law was not unconstitutionally overbroad, the Supreme Court observed that “the

        reach of the statute [was] directed at the hard core of child pornography.” Ferber,

        458 U.S. at 773; see also id. at 761 (reasoning that a work which “contains serious

        literary, artistic, political, or scientific value may nevertheless embody the hardest




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        core of child pornography”).5

               Hillie misconstrued these passing references to the “hard core” of child

        pornography to require that a depiction of a child’s anus, genitals or pubic area

        must be “hard core” to qualify as “lascivious.” 39 F. 4th at 681, 682, 683

        (ultimately finding evidence insufficient because “[t]here is certainly nothing that

        could be reasonably described as ‘hard core,’ sexually explicit conduct”). This

        reasoning fundamentally misunderstands the Supreme Court’s cases, which simply

        observed that “lascivious exhibitions” of a child’s genitals inherently constitute the

        “hard core” of child pornography (and that regulation of those exhibitions is

        therefore constitutionally permissible). The Supreme Court has never suggested

        that an exhibition is “lascivious” only if it meets some external “hard core”



           5
             Hillie also cited other Supreme Court decisions using the phrase “hard core”
        in describing the conduct permissibly captured by obscenity statutes. See, e.g.,
        Miller v. California, 413 U.S. 15, 27 (1973) (holding, in a challenge to California’s
        obscenity statute, that states can regulate obscene materials if “these materials
        depict or describe patently offensive ‘hard core’ sexual conduct specifically
        defined by the regulating state law”); United States v. 12 200-Foot Reels of Super
        8mm. Film, 413 U.S. 123, 130 n.7 (1973) (commenting, in a challenge to the
        federal obscenity statute, 19 U.S.C. § 1305(a), that in the event of a vagueness
        challenge to “the words obscene, lewd, lascivious, filthy, indecent, or immoral as
        used to describe regulated material in 19 U.S.C. § 1305(a) and 18 U.S.C. § 1462,”
        the court was “prepared to construe such terms as limiting regulated material to
        patently offensive representations or descriptions of that specific hard core sexual
        conduct given as examples in Miller” ). Hillie fails to explain why cases
        construing the regulation of material depicting adults should inform the reach of
        child pornography statutes.

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        standard.

                  Hillie is also incorrect because it depends on a flawed rejection of Dost. The

        Hillie court criticized Dost for interpreting Congress’s 1984 replacement of “lewd”

        with “lascivious” in the federal child pornography statute as indicating a legislative

        effort to expand the coverage of child pornography laws, citing a subsequent

        Supreme Court decision observing that the terms are equivalent. Hillie, 39 F.4th at

        686-87 (citing United States v. X-Citement Video, Inc., 513 U.S. 64, 78–79

        (1994)). But the legislative history makes clear that, when Congress acted, it

        intended to expand the scope of federal child pornography laws. See H.R. Rep.

        No. 98-536, at 2 (1983) (observing few prosecutions and convictions under the

        child pornography statutes then in force and concluding “[t]he few prosecutions

        under the Act indicate that the Protection of Children Against Sexual Exploitation

        Act requires some modification”). The Supreme Court’s subsequent determination

        that “lewd” and “lascivious” are interchangeable does not alter that congressional

        intent.

                  Hillie also criticized Dost for suggesting that one factor to be considered in

        deciding whether an exhibition is “lascivious” is whether the depiction “is

        designed to elicit a sexual response in the viewer, albeit perhaps not the average

        viewer, but perhaps in the pedophile viewer.” Hillie, 39 F.4th at 688 (quoting

        Dost, 636 F. Supp. at 832) (internal quotations omitted). Hillie suggested that this


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        factor inappropriately encourages examination of a defendant’s subjective belief

        regarding the lasciviousness of an image, contrary to United States v. Williams,

        553 U.S. 285, 301 (2008). Instead, multiple courts have recognized that this Dost

        factor involves an examination of the visual depiction using an objective standard,

        rather than an inquiry into a particular person’s subjective reaction. See, e.g.,

        United States v. Villard, 885 F.2d 117, 125 (3d Cir. 1989) (“We must, therefore,

        look at the photograph, rather than the viewer.”); United States v. Wiegand, 812

        F.2d 1239, 1245 (9th Cir. 1987) (affirming Dost on direct appeal and noting that

        “[p]rivate fantasies are not within the statute’s ambit”).

              Hillie’s conclusion that an exhibition is “lascivious” only if it is one in

        which “the minor displayed his or her anus, genitalia, or pubic area in a manner

        connoting that the minor, or any person or thing appearing with the minor in the

        image, exhibits sexual desire or an inclination to engage in any type of sexual

        activity,” 39 F.4th at 685, suffers from another critical defect. It is entirely

        inappropriate to rest the lasciviousness determination exclusively on whether a

        depiction creates a “connotation” of sexual desire or inclination toward sexual

        activity on the part of the minor victim. See, e.g., United States v. Horn, 187 F.3d

        781, 790 (8th Cir. 1999); United States v. Wolf, 890 F.2d 241, 246 (10th Cir. 1989)

        (observing that a definition of “lascivious exhibition” that would “require the child

        to exhibit lust, wantonness, sexual coyness or other inappropriate precocity . . .


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        would pervert both the language and the logic of the legislation and the case law”);

        Wiegand, 812 F.2d at 1244 (“[L]asciviousness is not a characteristic of the child

        photographed but of the exhibition which the photographer sets up for an audience

        that consists of himself or likeminded pedophiles.”).

              By its own terms, Hillie signifies that a depiction of a minor who is

        incapable of exhibiting sexual desire or inclination toward sexual activity, such as

        an infant, will never be “lascivious” unless another person or object also appears in

        the image to supply the requisite connotation. Similarly, Hillie necessarily holds

        that a depiction of a minor who is sleeping, unconscious, or otherwise

        incapacitated can never be “lascivious.” Likewise, Hillie suggests that a minor

        whose genitals, anus or pubic area are exhibited in a depiction in which the minor

        expresses an emotion other than sexual desire or inclination (for example, abject

        fear or distress) can never be “lascivious.” Hillie thus categorically excludes all

        such visual depictions from the definition of a “lascivious exhibition,” depriving

        some of the most vulnerable minors of the protection of the federal child

        pornography statutes. This result is obviously contrary both to the purpose of the

        statute and to its reasonable interpretation.

                     2.     Hillie is inconsistent with this Court’s precedent.

              Moreover, this Court should reject Hillie because it is impossible to

        reconcile with Courtade. In Hillie, the defendant was convicted of production and


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        possession of child pornography, arising out of his surreptitious recording of

        minors using video cameras he had secretly installed in a minor’s bedroom and in a

        bathroom. 39 F.4th at 677. The first video, recorded in his girlfriend’s daughter’s

        bedroom, involved the exposure of the minor’s genitals for approximately nine

        seconds, followed by the “intermittent” displays of the minor’s pubic area (but not

        her genitals) on various occasions during the remainder of the video. Id. at 678.

        The second video, recorded in the bathroom, captured two minors using the toilet

        but did not depict their genitals due to the position of the camera (in a ceiling vent

        directly above the toilet). Id. However, the second video did capture one minor

        cleaning her pubic area with a washcloth for approximately sixteen seconds. Id.

        The court in Hillie concluded that there was insufficient evidence to support the

        defendant’s convictions because no rational trier of fact could find the conduct

        depicted in the videos to be a “lascivious exhibition of the anus, genitals, or pubic

        area of any person.” Id. at 686. The court reasoned that nothing in the videos

        “could be reasonably described as ‘hard core,’ sexually explicit conduct.” Id.

              In both Courtade and Hillie, the visual depictions at issue were videos of

        minors recorded in rooms of a home (a bedroom and a bathroom) in which a

        reasonable person would typically expect privacy. The videos in both cases were

        captured surreptitiously through the deceitful acts of an adult cohabitant, and in

        both cases, they recorded the minor victims engaged in behavior that reasonably


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        would be expected in a bedroom or bathroom (disrobing, showering, cleaning,

        using the toilet). In Hillie, the D.C. Circuit reasoned that the videos were not

        lascivious exhibitions because, although the minor “disrobes and her nude body is

        shown, along with fleeting views of her pubic area, [she] never engages in any

        sexual conduct whatsoever, or any activity connoting a sex act.” Id. at 686. In

        Courtade, too, the video did not depict the minor engaging in “sexual conduct” or

        “activity connoting a sex act.” Yet this Court nevertheless concluded that the

        video was a lascivious exhibition because, “[f]ar from depicting merely a girl

        showering, drying off, and getting dressed, the video contain[ed] extensive

        nudity—including shots of her breasts and genitals—that [was] entirely the product

        of an adult man’s deceit, manipulation, and direction.” Courtade, 929 F.3d at 192.

              It is impossible to reconcile the video this Court determined to be a

        “lascivious exhibition” in Courtade with the videos that the Hillie court concluded

        were not. This Court’s binding precedent in Courtade necessarily rejects the

        reasoning in Hillie. Thus, the defendant’s argument that the district court was

        required to apply Hillie’s interpretation of “lascivious exhibition” fails.

                     3.     Even under Hillie, the photographs of
                                    are lascivious exhibitions.

              Alternatively, even if the Court applies Hillie’s definition of “lascivious

        exhibition,” the photographs of                             satisfy that standard. As

        detailed supra, the photographs include the defendant’s fingers spreading apart

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                                            Conclusion

              The close-up photographs of                                   ’s genitals and

        anus easily qualify as “lascivious exhibitions” of those areas within the meaning of

        18 U.S.C. § 2256(2)(A)(v). Because sufficient evidence supports the defendant’s

        convictions, the Court should affirm.




                                                Respectfully submitted,

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                                                United States Attorney


                                                                 /s/
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                                                Assistant United States Attorney




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